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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA
v.
GREGORY LAMAR NIX,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-637

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon and Inflicting Bodily Injury on
Certain Officers)

18 U.S.C. § 1361

(Destruction of Government Property)
18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. §§ 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE

On or about January 6, 2021, within the District of Columbia, GREGORY LAMAR NIX,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, that is, B.A., an officer from the United States Capitol Police, lawfully
engaged in the lawful performance of his/her official duties incident to and during the commission
of a civil disorder which in any way and degree obstructed, delayed, and adversely affected
commerce and the movement of any article and commodity in commerce and the conduct and
performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))
COUNT TWO

On or about January 6, 2021, within the District of Columbia, GREGORY LAMAR NIX,
using a deadly and dangerous weapon, that is, a flag pole, did forcibly assault, resist, oppose,
impede, intimidate, and interfere with, and inflict bodily injury on, an officer and employee of the
United States, and of any branch of the United States Government (including any member of the
uniformed services), that is, B.A., an officer from the United States Capito! Police, while such
officer or employee was engaged in or on account of the performance of official duties, and where
the acts in violation of this section involve physical contact with the victim and the intent to commit
another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon and

Inflicting Bodily Injury in violation of Title 18, United States Code, Sections 111(a)(1)

and (b))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, GREGORY LAMAR NIX

did willfully injure and commit depredation, and did attempt to do the same, against property of
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the United States, and of any department and agency thereof, and any property which has been and
is being manufactured and constructed for the United States, and any department or agency thereof,
that is the East Front House Chamber Door from the House Steps of the United States Capitol
Building, causing and attempting to cause damage in an amount greater than $1,000,

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, GREGORY LAMAR NIX,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was temporarily visiting, without lawful authority to do so, and, during and in relation
to the offense, did use and carry deadly and dangerous weapons, that is, a flagpole and a baton.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT FIVE
On or about January 6, 2021, within the District of Columbia, GREGORY LAMAR NIX,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was temporarily

visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
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Government business and official functions, and, during and in relation to the offense, did use and
carry deadly and dangerous weapons, that is, a flagpole and a baton.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2) and (b)(1)(A))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, GREGORY LAMAR NIX,
did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a flagpole.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4) and (b)(1)(A))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, GREGORY LAMAR NIX,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, GREGORY LAMAR NIX,

willfully and knowingly engaged in an act of physical violence within the United States Capitol

Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Malu, Crater, fear

Attorney of the United States in
and for the District of Columbia.
